     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                         CENTRAL DIVISION

CHARLES ROBERTS, an individual, and
KENNETH MCKAY, an individual, on                             MEMORANDUM
behalf of themselves and others similarly                   DECISION & ORDER
situated,

                   Plaintiffs,
                                                            Case No. 2:12-CV-00302
v.
                                                           Judge Robert J. Shelby
C.R. ENGLAND, INC., a Utah corporation;                Magistrate Judge Brooke C. Wells
OPPORTUNITY LEASING, INC., a Utah
corporation; and HORIZON TRUCK
SALES AND LEASING, LLC, a Utah
Limited Liability Corporation,

                   Defendants.



        On November 13, 2017, Magistrate Judge Wells granted in part Defendants’ request to

take absent class member depositions, and ordered Defendants to “propose a statistically

significant sample size based on the work of an expert in this case.”1 Defendants submitted the

Declaration of Ted Tatos, which includes a sample size analysis and states that a sample size of

96 drivers in this case would fall within “commonly accepted precision and confidence levels.”2

Plaintiffs objected to Magistrate Judge Wells’s Order,3 and the court ordered Defendants to

respond to Plaintiffs’ Objection.4

        Plaintiff Kenneth McKay, individually and on behalf of all others similarly situated

(“Plaintiffs”), filed a Motion to Stay Further Consideration of Defendants’ Motion for Approval

1
  Dkt. 405, p. 12.
2
  Dkt. 432-1 ¶ 28 (“Submission Pursuant to Order”).
3
  Dkt. 410.
4
  Dkt. 438.
to Depose Absent Class Members.5 Plaintiffs’ Motion is well-taken. The court stays further

consideration of Defendants’ Motion seeking leave to take absent class member depositions6 and

Defendants’ Submission Pursuant to Order,7 pending resolution of Plaintiffs’ Objection in the

first instance.8

         Plaintiffs ask the court in the alternative for leave to respond to Defendants’ Submission

Pursuant to the Order regarding the appropriate number of absent class member depositions. The

request is DENIED without prejudice to seek leave once Plaintiffs’ Objection is resolved.

         Based upon the foregoing, Plaintiffs’ Motion to Stay Further Consideration of

Defendants’ Motion for Approval to Depose Absent Class Members Pending Consideration of

Objection9 is GRANTED in part, and DENIED in part without prejudice.

         SO ORDERED this 22nd day of February, 2018.

                                                      BY THE COURT:


                                               ________________________________________
                                                     ROBERT J. SHELBY




5
  Dkt. 440.
6
  Dkt. 335.
7
  Dkt. 432-1.
8
  Dkt. 410.
9
  Dkt. 440.
